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                          IN THE UNITED STATES BANKRUTPCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re:                               :
                                       :                        CHAPTER 11
  LITTLE WASHINGTON FABRICATORS, INC., :
                                       :
                      Debtor.          :                        Case No. 22-10695 (PMM)


                ORDER APPROVING STIPULATION REGARDING JOINT CHECK
                  ARRANGEMENT ON REJECTED EXECUTORY CONTRACT


           AND NOW, upon consideration of the Joint Motion for Approval of Stipulation Regarding

  Joint Check Agreement On Rejected Executory Contract (the “Joint Motion”), which was filed by

  Stewart & Tate Construction and the Debtor on June 2, 2022, it is hereby ORDERED and

  DECREED that:

           1.      The Stipulation (as defined in the Joint Motion) is approved and adopted as an

  Order of this Court.

           2.      The Debtor may sign any joint checks under the Contract (as defined in the

  Stipulation).

           3.      Any signature of the Debtor on the joint checks will not cause any reinstatement of

  the Contract whatsoever.

           It is so ordered.



                                                 BY THE COURT:

Date: June 28, 2022
                                                 _____________________________
                                                 Honorable Patricia M. Mayer
                                                 United States Bankruptcy Judge




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